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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-02507-JLK
KYLE JEFFERY SCHWARK,

Plaintiff,
Vv.

SHERIFF FRED WEGENER, in his official and individual capacities;
NURSE SUSAN CANTERBURY, in her individual capacity;
NURSE JERI SWANN, in her individual capacity;

NURSE CATHLENE PEARCE, in her individual capacity; and
DOCTOR KATHERINE FITTING, in her individual capacity,

Defendants.

 

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1)

 

Defendants, FRED WEGENER, SUSAN CANTERBURY, JERI SWANN and
CATHLENE PEARCE, by their attorneys, SENTER GOLDFARB & RICE, L.L.C., and
pursuant to Fed. R. Civ. P. 26(a)(1), hereby submit the following Initial Disclosures:

A. PERSONS LIKELY TO HAVE DISCOVERABLE INFORMATION WHO MAY
BE USED TO SUPPORT DEFENSES.

1. Kyle Schwark, c/o Killmer, Lane & Newman, L.L.P., 1543 Champa Street, Suite
400, Denver, Colorado 80202. (303) 571-1000. Mr. Schwark, as the Plaintiff in this matter, has
discoverable information regarding relevant facts, his claims made herein and his alleged damages.
2. Fred Wegener, c/o Senter Goldfarb & Rice, L.L.C., 3900 East Mexico Avenue,
Suite 700, Denver, Colorado 80210. (303) 320-0509. Sheriff Wegener, a Defendant in this matter,

has discoverable information regarding various allegations in Plaintiff's Complaint.

EXHIBIT

 
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3. Susan Canterbury, c/o Senter Goldfarb & Rice, L.L.C., 3900 East Mexico Avenue,
Suite 700, Denver, Colorado 80210. (303) 320-0509. Nurse Canterbury, a Defendant in this
matter, has discoverable information regarding various allegations in Plaintiff's Complaint.

4, Jeri Swann, c/o Senter Goldfarb & Rice, L.L.C., 3900 East Mexico Avenue, Suite
700, Denver, Colorado 80210. (303) 320-0509. Nurse Swann, a Defendant in this matter, has
discoverable information regarding various allegations in Plaintiffs Complaint.

5. Cathlene Pearce, c/o Senter Goldfarb & Rice, L.L.C., 3900 East Mexico Avenue,
Suite 700, Denver, Colorado 80210. (303) 320-0509. Nurse Pearce, a Defendant in this matter,
has discoverable information regarding various allegations in Plaintiff's Complaint.

6. Katherine Fitting, c/o Childs McCune LLC, 821 17" Street, Suite 500, Denver,
Colorado 80202. (303) 296-7300. Dr. Fitting, a Defendant in this matter, has discoverable
information regarding various allegations in Plaintiff's Complaint.

7. Dan Muldoon, c/o Senter Goldfarb & Rice, L.L.C., 3900 East Mexico Avenue,
Suite 700, Denver, Colorado 80210. (303) 320-0509. Captain Muldoon oversees operations for
the Park County Jail. He has discoverable information regarding various allegations in Plaintiff's
Complaint, and operations and training at the Park County Jail.

8. Deputy T. Fenner, Park County Sheriffs Office, 1180 CR 16, Fairplay, Colorado
80440. (719) 836-2494. Deputy Fenner witnessed Plaintiff's first seizure incident on November
14, 2013. As such, Deputy Fenner may have discoverable information regarding various
allegations in Plaintiff's Complaint, and Plaintiff's alleged injuries and damages.

9. Corporal Robertson, Park County Sheriff's Office, 1180 CR 16, Fairplay, Colorado

80440. (719) 836-2494. Corporal Robertson interacted with Plaintiff in the medical unit of the

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jail on November 14, 2013. As such, Corporal Robertson may have discoverable information
regarding various allegations in Plaintiff's Complaint, and Plaintiff's alleged injuries and damages.

10. Deputies L. Flores, R. Shimp, and Sebok, Park County Sheriff's Office, 1180 CR
16, Fairplay, Colorado 80440. (719) 836-2494. Deputies Flores, Shimp and Sebok were involved
in the transport of Plaintiffto Denver Health Medical Center. As such, they may have discoverable
information regarding various allegations in Plaintiff's Complaint, and Plaintiff's alleged injuries
and damages.

11. Cynthia E. Parker, Psy.D, Adult Mental Health Services LLC, 101 West Main
Street, Suite 101, Frisco, Colorado 80443. (970) 393-2526. Ms. Parker is a psychologist with
whom Park County consulted regarding Plaintiff. As such, she may have discoverable information
regarding various allegations in Plaintiff's Complaint, and Plaintiff's alleged injuries and damages.

12. Jonathan Singer, D.O., 8400 East Prentice Avenue, Suite 301, Greenwood Village,
Colorado 80111. (303) 488-0034. Dr. Singer prescribed some or all of the medications Plaintiff
claims were withheld by Defendants. As such, he has discoverable information regarding
Plaintiff's relevant health and treatment.

13. | Nancy Webber, 39 Bristol View Drive, Fairport, New York 14450. (585) 729-
6449, Ms. Webber is Plaintiff's mother. Ms. Webber is believed to be Plaintiff's mother, and she
was listed as Plaintiff's emergency contact on forms Plaintiff filled out for the Park County Jail.
As such, she may have discoverable information regarding various allegations in Plaintiffs
Complaint, Plaintiff's alleged injuries and damages, and Plaintiff's relevant health and treatment.

14. Drs. Julie Taub, Robert House, Katherine Hurlbut, Herbert Fried, Kevin McVaney,

Craig Holland, Benjamin Metelits, and Venkata Manchala, Denver Health Medical Center, 777
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Bannock Street, Denver, Colorado 80204. (303) 436-6000. These physicians treated Plaintiff in
November 2013 and March 2014. As such, they may have discoverable information regarding

Plaintiff's relevant health and treatment.

B. DOCUMENTS, DATA, COMPILATIONS, AND TANGIBLE THINGS THAT MAY
BE USED TO SUPPORT DEFENSES.

1. November 12, 2013 Medical Questionnaire and Emergency Notification.
[Schwark.Park 000001-2.]

2. November 12, 2013 photographs of medication. [Schwark.Park 000003-4. |

3. November 13, 2013 Inmate Request Form. [Schwark.Park 000005. ]

4. Letter from Jonathan W. Singer, D.O. [Schwark.Park 000006. |

5, Cathlene Pearce RN November 14, 2013 narrative. [Schwark.Park 000007.]

6. Jeri Swann RN narrative. [Schwark.Park 000008. ]

7. November 2013 Medication Sheets. [Schwark.Park 000009-10. |

8. November 14, 2013 Medical Request. [Schwark.Park 000011.]

9. Case Report Number D0001479 Continuation Sheets. [Schwark.Park 000012-14.]

10. Handwritten notes. [Schwark.Park 000015.]

11. November 15, 2013 documentation of Plaintiffs release from Park County
Sheriff’s Office custody. [Schwark.Park 000016. ]

12. November 20, 2013 narrative. [Schwark.Park 000017.]

13. Susan Canterbury RN Request to Denver Health for Plaintiff's discharge summary.
[Schwark.Park 000018.]

14. Plaintiff's Denver Health discharge records sent to Park County on February 20,

2014. [Schwark.Park 000019-22.]
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15. February 26, 2014 Medical Questionnaire and Emergency Notification.
[Schwark.Park 000023-24. ]

16. Schwark Inmate View. [Schwark.Park 000025.]

17. February 25, 2014 instructions from Dr. Fitting. [Schwark.Park 000026. ]

18. February 2014 Medication Sheet. [Schwark.Park 000027.]

19. March 2014 Medication Sheet. [Schwark.Park 000028. ]

20. UA Dipstick Results. [Schwark.Park 000029. |

21. Medical records from Jonathan W. Singer, D.O. [Schwark.Park 000030-32.]

22. Email chain between Susan Canterbury and Cynthia Parker re Kyle Schwark.
[Schwark.Park 000033-34. |

23. | November 6, 2013 Park County District Court hearing transcript. [Schwark.Park
000035-37.]

24. March 12, 2014 orders from Cynthia Parker, Psy.D. [Schwark.Park 000038-42. |

25. Emails between Susan Canterbury and Cynthia Parker. [Schwark.Park 000043-45.]

26. March 19, 2014 Orders from Cynthia Parker, Psy.D. [Schwark.Park 000046-47.]

27. March 2014 Medication Sheets. [Schwark.Park 000048-49.|

28. March 10, 2014 memorandum to Denver Health from Capt. D. Muldoon.
| Schwark.Park 000050. |

29. March 2014 medical records from Denver Health Medical Center. [Schwark.Park

000051-91.]

30. Medical Questionnaire and Emergency Notification. [Schwark.Park 000092-93.|
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31. April 17, 2014 Medical Questionnaire and Emergency Notification. [Schwark.Park
000094-95.]

32. February 4, 2016 Inmate View. [Schwark.Park 000096-109.]

33. Authorization to Disclose Health Information. [Schwark.Park 000110.]

34. Photographs of medication. [Schwark.Park 000111.]

35. Detention Center memo re Schwark in and out. [Schwark.Park 000112.]

36. Park County District Court documentation. [Schwark.Park 000113-132.]

37. Any and all documents identified and/or produced in Plaintiff's and Defendants’
written discovery responses and disclosures.

38. Any and all documents necessary to rebut Plaintiff's testimony and/or for
impeachment purposes.
C. DAMAGES.

Defendants do not seek damages, but reserve the right to seek fees and costs to which they
may be entitled.
D. INSURANCE AGREEMENT.

Park County is a member of Colorado Technical Services, Inc., 800 North Grant Street,
Suite 400, Denver, Colorado 80203. The individual Defendants are current or former employees
of Park County. A copy of the self-insurance pool agreement will be made available for inspection

at the office of undersigned counsel upon reasonable notice.
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Respectfully submitted,

s/ Eric M. Ziporin

Eric M. Ziporin

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s/ Ashley M. Kelliher

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Counsel for Defendants Wegener,
Canterbury, Swann and Pearce
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 14th day of June 2016 a true and exact copy of the
above and foregoing INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1)
was served to the following email address:

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s/ Cyndi Nichols
Cyndi Nichols, Legal Secretary
